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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division

 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, TYLER MAGILL, APRIL
 MUNIZ, HANNAH PEARCE, MARCUS
 MARTIN, JOHN DOE, JANE DOE 1, JANE
 DOE 2, and JANE DOE 3,

                         Plaintiffs,
 v.

 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES
 ALEX FIELDS, JR., VANGUARD
 AMERICA, ANDREW ANGLIN,           Civil Action No. 3:17-cv-00072-NKM
 MOONBASE HOLDINGS, LLC, ROBERT
 “AZZMADOR” RAY, NATHAN DAMIGO,
 ELLIOT KLINE a/k/a/ ELI MOSELY,
 IDENTITY EVROPA, MATTHEW          JURY TRIAL DEMANDED
 HEIMBACH, MATTHEW PARROTT a/k/a
 DAVID MATTHEW PARROTT,
 TRADITIONALIST WORKER PARTY,
 MICHAEL HILL, MICHAEL TUBBS,
 LEAGUE OF THE SOUTH, JEFF SCHOEP,
 NATIONAL SOCIALIST MOVEMENT,
 NATIONALIST FRONT, AUGUSTUS SOL
 INVICTUS, FRATERNAL ORDER OF THE
 ALT-KNIGHTS, MICHAEL “ENOCH”
 PEINOVICH, LOYAL WHITE KNIGHTS OF
 THE KU KLUX KLAN, and EAST COAST
 KNIGHTS OF THE KU KLUX KLAN a/k/a
 EAST COAST KNIGHTS OF THE TRUE
 INVISIBLE EMPIRE,

                         Defendants.


      PLAINTIFFS’ MOTION TO STRIKE DEFENDANT LOYAL WHITE KNIGHTS OF
                        THE KU KLUX KLAN’S ANSWER
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                                  PRELIMINARY STATEMENT

        In documents dated November 28 and 29, 2017, Amanda Barker, purporting to act on

 behalf of the Loyal White Knights of the Ku Klux Klan (the “Loyal White Knights of the

 KKK”), filed an untimely, two-page “response” to Plaintiffs’ Complaint. The “response”

 includes only a general denial of the 347-paragraphs of allegations in the Complaint and threat to

 sue Plaintiffs and their attorneys. But this purported response is a legal nullity.

        As an unincorporated association, the Loyal White Knights of the KKK cannot proceed

 pro se and must be represented by a licensed attorney. Ms. Barker is not an attorney and thus

 cannot answer on behalf the Loyal White Knights of the KKK. In doing so, Ms. Barker violated

 Supreme Court authority and Virginia State Bar rules. Accordingly, Plaintiffs respectfully

 request that the response be struck.

                                               FACTS

        Plaintiffs filed their Complaint on October 12, 2017. ECF No. 1. Defendant Loyal

 White Knights of the KKK was personally served on October 24, 2017. ECF No. 56. Its

 deadline to respond to Plaintiffs’ Complaint was November 14, 2017. Id. Two weeks after its

 deadline to respond, Amanda Barker, the self-described “Imperial Kommander” of the Loyal

 White Knights of the KKK, signed a “Response to Summons” on behalf of herself, her husband

 Chris Barker, and the Loyal White Knights of the KKK. ECF No. 146. That “response”

 contained a general denial of Plaintiffs’ allegations and an expression of intent to sue Plaintiffs

 and Plaintiffs’ counsel. Id.
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          In the response, Ms. Barker does not purport to be an attorney. Indeed, Plaintiffs’

 counsel searched the Virginia State Bar attorney search page, and conducted an online review,

 and found no evidence that Ms. Barker is licensed to practice law in this, or any other state.1

                                            ARGUMENT

     I.   THE LOYAL WHITE KNIGHTS OF THE KKK MAY NOT APPEAR PRO SE IN
          THIS ACTION

          The Supreme Court has made clear that, “for the better part of two centuries,” the law has

 not allowed “corporations, partnerships, or associations to appear in federal court otherwise than

 through a licensed attorney.” Rowland v. California Men’s Colony, Unit II Men’s Advisory

 Council, 506 U.S. 194, 201-2, 113 S.Ct. 716 (1993). As Chief Justice Marshall explained, “a

 natural person may appear for himself,” but “[a] corporation . . . can appear only by attorney.”

 Osborn v. Bank of the United States, 22 U.S. (9 Wheat.) 738, 830 (1824). This rule was codified

 by the Supreme Court of Virginia in its State Bar Rules of Professional Conduct. Va. R.S.Ct., pt.

 6 § 1 UPR 1–101, UPC 1–3 (“A corporation can be represented only by a lawyer before a

 tribunal, with respect to matters involving legal conclusions, examination of witnesses or

 preparation of briefs or pleadings.”).

          The Loyal White Knights of the KKK is an unincorporated association pursuant to

 Virginia Code § 8.01-154, formed for the common purpose of promoting white nationalism and

 white supremacy. Compl. ¶ 44. Its purported representative, Amanda Barker, does not indicate

 that she is an attorney, and Plaintiffs’ reasonable investigation discloses no evidence that she is

 licensed to practice law in Virginia. The Loyal White Knights of the KKK therefore appears to


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         In particular, Plaintiffs’ counsel searched the state bar directories of Virginia and North
 Carolina (where we understand the Barkers and the Loyal White Knights of the KKK to be
 located), and conducted Google searches for attorneys named Amanda Barker. Neither resulted
 in any evidence that Ms. Barker is admitted to practice law.

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 be attempting to proceed pro se. As an artificial entity, it is not permitted to do so. See id.; In re

 Under Seal, 749 F.3d 276, 290 (4th Cir. 2014) (“As a limited liability company, [a party] should

 not have been permitted to proceed at all.”).

  II.   THE COURT SHOULD STRIKE THE LOYAL WHITE KNIGHTS OF THE
        KKK’S PURPORTED “RESPONSE TO SUMMONS”

        Because the “Response to Summons” was filed by a representative unlicensed to practice

 law, it should be struck. Both this Court and the Fourth Circuit have recognized that this is an

 appropriate remedy in such a circumstance. Office Parks of Lynchburg, LLC v. Wells Fargo

 Bank, N.A., Case No. 12 Civ. 0034, 2012 WL 4325567 (W.D. Va. Sept. 20, 2012) (Moon, J.)

 (striking organizational plaintiff’s complaint because it lacked standing to proceed pro se); see

 also Allied Colloids, Inc. v. Jadair, Inc., 139 F.3d (4th Cir. 1998) (affirming finding of default

 judgment following district court’s order that “unless [the organizational defendant] files a

 proper response” through duly authorized counsel, “it will be found in default”). As this Court

 has observed, “[a] business entity or corporation involved in Virginia must be represented by an

 attorney licensed to practice in Virginia.” Office Parks of Lynchburg, LLC, 2012 WL 4325567,

 at *3. So, too, must the Loyal White Knights of the KKK be represented by counsel.




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                                          CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully submit that the Court (1) strike

 Defendant Loyal White Knights of the KKK’s “Response to Summons” and (2) order that within

 fourteen (14) days of the entry of the Court’s order granting this motion, Defendant Loyal White

 Knights of the KKK shall file a proper responsive pleading though duly authorized Virginia

 counsel and that if Defendant Loyal White Knights of the KKK fails to do so, it shall be in

 default.



 Dated: December 15, 2017                     Respectfully submitted,

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                                    Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 15, 2017, I filed the foregoing with the Clerk of Court

 through the CM/ECF system, which will send a notice of electronic filing to:

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 Parrott, Matthew Heimbach, Robert Ray, Traditionalist Worker Party, Elliot Kline, Jason
 Kessler, Vanguard America, Nathan Damigo, Identity Europa, Inc., and Christopher Cantwell




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        I further hereby certify that on December 15, 2017, I also served the following non-ECF

 participant, via e-mail:

 Michael Peinovich (pro se)
 a/k/a Michael “Enoch” Peinovich
 519 E. 82nd Street, Apt 2C
 New York, NY 10028
 mpeinovich@gmail.com

        I further hereby certify that on December 15, 2017, I also served the following non-ECF

 participant, via U.S. mail, First Class and postage prepaid, addressed as follows:

 Loyal White Knights of the Ku Klux Klan (pro se)
 a/k/a Loyal White Knights Church of Invisible Empire Inc.
 c/o Chris and Amanda Barker
 P.O. Box 54
 Pelham, N.C. 27311

 Richard Spencer
 1001-A King Street
 Alexandria, VA 22314


                                                      s/ Robert T. Cahill
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